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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                           4:22-CR-3142

vs.
                                                      TENTATIVE FINDINGS
LEOPOLDO RAMIREZ,

                       Defendant.

         The Court has received the revised presentence investigation report in
this case. There are no objections to the presentence report. The defendant has
filed a motion for variance. Filing 218.


         IT IS ORDERED:


1.       The Court will consult and follow the Federal Sentencing
         Guidelines to the extent permitted and required by United States
         v. Booker, 543 U.S. 220 (2005) and subsequent cases. In this
         regard, the Court gives notice that, unless otherwise ordered, it
         will:

         (a)     give the advisory Guidelines respectful consideration within
                 the context of each individual case and will filter the
                 Guidelines' advice through the 18 U.S.C. § 3553(a) factors,
                 but will not afford the Guidelines any particular or
                 "substantial" weight;

         (b)     resolve all factual disputes relevant to sentencing by the
                 greater weight of the evidence and without the aid of a jury;
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         (c)   impose upon the United States the burden of proof on all
               Guidelines enhancements;

         (d)   impose upon the defendant the burden of proof on all
               Guidelines mitigators;

         (e)   depart from the advisory Guidelines, if appropriate, using
               pre-Booker departure theory; and

         (f)   in cases where a departure using pre-Booker departure
               theory is not warranted, deviate or vary from the Guidelines
               when there is a principled reason justifying a sentence
               different than that called for by application of the advisory
               Guidelines, again without affording the Guidelines any
               particular or "substantial" weight.

2.       There are no objections that require resolution at sentencing. The
         defendant has moved for a downward variance based on his
         personal circumstances, the circumstances of the offense, and the
         Court's decision in United States v. Havel, No. 4:21-CR-3075, 2023
         WL 1930686 (D. Neb. Feb. 10, 2023). Filing 218; see filing 219. The
         Court will resolve that motion at sentencing.

3.       Except to the extent, if any, that the Court has sustained an
         objection, granted a motion, or reserved an issue for later
         resolution in the preceding paragraph, the parties are notified that
         the Court's tentative findings are that the presentence report is
         correct in all respects.




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4.       If any party wishes to challenge these tentative findings, that
         party shall, as soon as possible (but in any event no later than
         three (3) business days before sentencing) file with the Court and
         serve upon opposing counsel an objection challenging these
         tentative findings, supported by a brief as to the law and such
         evidentiary materials as are required, giving due regard to the
         local rules of practice governing the submission of evidentiary
         materials. If an evidentiary hearing is requested, such filings
         should include a statement describing why a hearing is necessary
         and how long such a hearing would take.

5.       Absent timely submission of the information required by the
         preceding paragraph, the Court's tentative findings may become
         final and the presentence report may be relied upon by the Court
         without more.

6.       Unless otherwise ordered, any objection challenging these
         tentative findings shall be resolved at sentencing.

         Dated this 25th day of April, 2024.


                                               BY THE COURT:



                                               John M. Gerrard
                                               Senior United States District Judge




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